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 1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2
       - - - - - - - - - - - - - - - x
 3     THE UNITED STATES OF AMERICA,
                                              Criminal Action No.
 4                      Plaintiff,            1:14-cr-00141-CRC-1
                                              Tuesday, November 7, 2017
 5     vs.                                    11:06 a.m.

 6     AHMED SALIM FARAJ ABU KHATALLAH,

 7                   Defendant.
       - - - - - - - - - - - - - - - x
 8                           *MORNING SESSION*
        ____________________________________________________________
 9
                         TRANSCRIPT OF JURY TRIAL
10            HELD BEFORE THE HONORABLE CHRISTOPHER R. COOPER
                       UNITED STATES DISTRICT JUDGE
11     ____________________________________________________________

12     APPEARANCES:

13     For the United States:        JOHN CRABB, JR., ESQ.
                                     MICHAEL C. DiLORENZO, ESQ.
14                                   JULIEANNE HIMELSTEIN, ESQ.
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23     (Continued on Next Page)

24     Proceedings recorded by mechanical stenography; transcript
       produced by computer-aided transcription
25
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 1     APPEARANCES (CONTINUED):

 2     For the Defendant:          JEFFREY D. ROBINSON, ESQ.
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       Interpreters:               Sara Kamel
 7                                 Mustafa El-Suqi

 8                                 Toufic Maged
                                   Mustafa Sayid
 9
       Court Reporter:                   Lisa A. Moreira, RDR, CRR
10                                       Official Court Reporter
                                         U.S. Courthouse, Room 6718
11                                       333 Constitution Avenue, NW
                                         Washington, DC 20001
12                                       202-354-3187

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 1                                   I N D E X

 2
       WITNESS                                                         PAGE
 3
       ALI MAJRISI, Resumed
 4         (By Mr. Crabb)................................... 5058
           (By Ms. Peterson)................................ 5108
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 1                            P R O C E E D I N G S

 2                 THE COURTROOM DEPUTY:      Your Honor, we're back on

 3     the record for Criminal Case 14-141, United States of

 4     America vs. Ahmed Salim Faraj Abu Khatallah.

 5                 THE COURT:    All righty.    To pick up where we left

 6     off yesterday, Ms. Peterson, could you point me to the

 7     statements of Mr. Al-Amari in the 302 that you referenced.

 8                 MS. PETERSON:    Let me start by saying, Your Honor,

 9     that I -- the government may know what the witness is going

10     to say.    All I can do is look at what he said before, and

11     it's -- there's been differences.

12                 THE COURT:    I understand.

13                 MS. PETERSON:    But what he said before was --

14                 THE COURT:    And I have them.     Is there a date?

15                 MS. PETERSON:    It was the first one, August 30,

16     2014.

17                 THE COURT:    Is it this one?

18                 MS. PETERSON:    No, no, that's not the 302.        Those

19     are the cables.

20                 THE COURT:    Okay.

21                 MS. PETERSON:    The Court should have an actual

22     302.

23                 THE COURT:    I may not have it.

24                 MS. PETERSON:    You may not have it.      I will pass

25     up my copy.    I can point the Court to the page.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 5 of 97      5055


 1                  He said -- I apologize, Your Honor.       There's a

 2     number of --

 3                  THE COURT:   Take your time.

 4                  (Pause)

 5                  MS. PETERSON:   Sorry, Your Honor, I had it

 6     yesterday when I quoted it.

 7                  THE COURT:   You referenced a joke, I believe.

 8                  MS. PETERSON:   Yes, he said it was a joke.

 9                  Mr. Crabb appears to have it.

10                  THE COURT:   All right.

11                  MS. PETERSON:   Is it not the first one?

12                  MR. CRABB:   Yes.    It's on Page 6.

13                  MS. PETERSON:   It's on Page 6, according to

14     Mr. Crabb.    I appreciate that.      Oh, yes it is.

15                  "Al-Amari joked stating words to the effect

16     'Khatallah's men did all the dirty work during the attacks

17     while Khatallah sat outside in the car and gave the orders."

18                  Does the Court wish to see the 302?

19                  THE COURT:   No, that's fine.

20                  Mr. Crabb, do you want to take one more crack at

21     it?

22                  MR. CRABB:   Yes, but not the crack the Court

23     probably expects.

24                  THE COURT:   Okay.

25                  MR. CRABB:   We are no longer seeking to admit this
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 1     statement.

 2                  THE COURT:   I should have asked that to begin

 3     with.    You knew where I was going.

 4                  MR. CRABB:   No idea.

 5                  THE COURT:   Okay.   You can get the jury.

 6                  I've reviewed the pleadings on the defense's

 7     objection to the summary charts regarding the telephone

 8     calls.    We're studying that, and we'll rule on it, and we'll

 9     give you an opportunity to address the Court, but one

10     preliminary question:      There seems to be a dispute as to the

11     math that supports the two averages on either side of the

12     relevant or the key days' phone calls.         Have you all -- has

13     the government rechecked its figures based on the defense's

14     calculations?

15                  MS. HIMELSTEIN:    Yes, Your Honor.

16                  THE COURT:   And are we on the same page?          Putting

17     aside whether it's misleading or not, it's at least an

18     accurate average.

19                  MS. HIMELSTEIN:    Okay.

20                  THE COURT:   Is that right, Ms. Peterson?

21                  MS. PETERSON:   This is Mr. Robinson's issue.

22                  THE COURT:   Is that right, Mr. Robinson?

23                  MR. ROBINSON:   I haven't spoken with the

24     government so I'm not sure -- I was pretty confident about

25     our math, unless they've changed something else.
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 1                 THE COURT:    Well, it's just math so, you guys,

 2     let's take that issue off the table, figure out if the math

 3     is correct, then we'll talk later about the implications.

 4                 MR. ROBINSON:    Okay.    And just to be clear, Your

 5     Honor, we actually think that the issue was probably the

 6     time period in the government's chart as opposed to the

 7     actual math, and that if you do the math over the time

 8     period they indicated, it's incorrect, but if you do the

 9     math over the time period that we believe they may be trying

10     to specify, it would be accurate.

11                 THE COURT:    Okay.   Well, work that out amongst

12     yourselves, if you can.

13                 MR. CRABB:    Your Honor, should we get the witness?

14                 THE COURT:    You can, yes.

15                 And finally, Mr. Crabb, on the source of the phone

16     records, we're still awaiting a declaration from the

17     government; is that correct?

18                 MR. CRABB:    Yes, Your Honor.     And it's our

19     understanding that it will be delivered to the court at

20     approximately lunchtime.

21                 THE COURT:    Very well.

22                 (Pause)

23                 (Jury enters courtroom)

24                 THE COURT:    All right.    Good morning, ladies and

25     gentlemen, and welcome back.       My apologies for not
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 1     replenishing the candy jar.       My fault.

 2                 We are ready to proceed with the continuation of

 3     the direct examination of the witness who was on the stand

 4     yesterday afternoon.      And I will remind the witness that

 5     he's still under oath.

 6                 Mr. Crabb.

 7                 MR. CRABB:    Thank you, Your Honor.

 8                              ALI MAJRISI, Resumed

 9                        DIRECT EXAMINATION, Continued

10     BY MR. CRABB:

11     Q.   Good morning, Mr. Ali.

12     A.   Good morning.

13     Q.   I'd like to begin by asking you about some of the

14     individuals you identified yesterday.         First of all, I'd

15     like to show you what was admitted as Government's Exhibit

16     188-5A.

17                 Mr. Ali, can you see that photograph okay?

18     A.   Yes.

19     Q.   Please remind us who that is.

20     A.   Aymen Al-Dijawi.

21                 THE COURT:    Excuse me, Mr. Crabb.      Agent Clarke,

22     would you mind turning that monitor towards the audience.            I

23     think all the monitors in the jury box are working.

24                 (Pause)

25                 THE COURT:    I should have known.
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 1                 (Pause)

 2                 THE COURT:    All right.    Don't worry about it.

 3     We'll deal with it during the break, okay?

 4                 Proceed.

 5                 MR. CRABB:    Yes, Your Honor.

 6     Q.   Mr. Ali, I'd like to show what was admitted yesterday as

 7     Government's Exhibit 188-19A.       Can you see those photographs

 8     okay?

 9     A.   Yes.

10     Q.   Please remind us who is depicted there.

11     A.   Yahya Al-Zway, nicknamed Jamaica.

12     Q.   And last for now I'd like to show you what was admitted

13     as Government's Exhibit 188-6A.        Can you see that okay,

14     Mr. Ali?

15     A.   Yes.

16     Q.   Remind us, please, who that is.

17     A.   Walid Al-Birnawi.

18     Q.   Mr. Ali, during the time that you described yesterday

19     that you were associated with Mr. Khatallah, did you have

20     an opportunity to see Mr. Dijawi interacting with

21     Mr. Khatallah?

22     A.   Yes.

23     Q.   Did you have an opportunity to see the person known as

24     Jamaica interacting with Mr. Khatallah?

25     A.   Yes.   No.
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 1                   THE INTERPRETER:    Pardon me.   I misheard you.

 2      A.   No.

 3      Q.   Did you have an opportunity to see the person you

 4      identified as Mr. Birnawi interacting with Mr. Khatallah?

 5      A.   Yes.

 6      Q.   Based on your observations and any conversations you had

 7      with Mr. Khatallah, do you know what the nature of the

 8      relationship between Mr. Khatallah and Mr. Birnawi, Jamaica,

 9      and Dijawi were?

10                   MS. PETERSON:   Objection, Your Honor.      The witness

11      said he never saw Mr. Jamaica interact with Khatallah.

12                   THE COURT:   Overruled.   It includes the

13      defendant's statements.

14                   THE INTERPRETER:    Could you repeat the question?

15      I'm sorry.

16                   MR. CRABB:   Yes.

17      Q.   Mr. Ali --

18                   MS. PETERSON:   Your Honor, then I would object on

19      the ground that it's compound and ask that it be asked

20      separately.

21                   THE COURT:   Overruled.

22      Q.   Mr. Ali --

23      A.   Yes.

24      Q.   -- based on things you saw or things that Mr. Khatallah

25      told you, what did you learn about the relationship between
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 1      Mr. Khatallah on the one hand and Mr. Birnawi, Jamaica, and

 2      Dijawi on the other hand?

 3      A.   They're very close to Abu Khatallah.

 4      Q.   Were they ever involved in activities on behalf of

 5      Mr. Khatallah?

 6      A.   Yes.

 7      Q.   What types of activities?

 8      A.   Anything that was criminal activities.

 9      Q.   Can you be more specific, please?

10      A.   Killing.    He would use them to kill.

11      Q.   Who was in charge, and who followed the orders in the

12      scenario you describe?

13      A.   Aymen Al-Dijawi.

14      Q.   I'm sorry, that was a poor question.        What was

15      Mr. Dijawi's role?

16      A.   Aymen who would execute orders.       He's more of a fighting

17      field man.

18      Q.   Orders given by whom?

19      A.   Ahmed Abu Khatallah.

20      Q.   Mr. Ali --

21      A.   Yes.

22      Q.   -- I'd like to show you some video clips now.

23      A.   Yes.

24      Q.   I would ask you to please watch them carefully.

25      A.   Yes.
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 1      Q.   And then I'll ask you some follow-up questions.

 2                  MR. CRABB:    Your Honor, all of these clips are

 3      from what's previously been admitted as Government's Exhibit

 4      301, the surveillance tapes from the Mission.

 5                  Could we start, please, at the C1 gate at 21:45.

 6      And I'm sorry, before you start.

 7      Q.   Mr. Ali, can you see that okay?

 8      A.   Yes.

 9                  MR. CRABB:    Please start the clip.

10                  (Video playing)

11                  MR. CRABB:    Would you pause it, please.

12      Q.   Mr. Ali, do you see a flag in that clip?

13      A.   Not clear.

14                  MR. CRABB:    Please continue.

15                  (Video playing)

16      A.   Yes, I see it.

17      Q.   Would you please touch the screen to mark where the flag

18      you see is.

19      A.   (Witness complies)

20      Q.   Mr. Ali, yesterday, when you were testifying about

21      things that happened during the Libyan Revolution, you

22      mentioned that Ubaydah Bin Jarrah fought under a black flag.

23      A.   Yes.

24      Q.   How does the flag that you saw Ubaydah Bin Jarrah use

25      during the revolution compare to this flag depicted on the
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 1      video clip?

 2      A.   Same flag.

 3                   MR. CRABB:   Please continue the clip.

 4                   (Video playing)

 5      Q.   Mr. Ali, in that clip did you recognize anyone?

 6      A.   Yes.

 7      Q.   We're going to play the clip again, and please tell us

 8      to pause when you see someone you recognize, okay?

 9      A.   Okay.

10                   (Video playing)

11      A.   Stop, please.

12      Q.   Who do you recognize?

13      A.   Aymen Dijawi.

14      Q.   Would you please mark on the screen where you see

15      Mr. Dijawi.

16      A.   (Witness complies)

17      Q.   Mr. Ali, this is Government's Exhibit 188-5A.         Is this

18      the same Mr. Dijawi you circled on the screen?

19      A.   Yes.

20                   MR. CRABB:   Could you continue the clip, please.

21                   (Video playing)

22      Q.   Was there anyone else you recognized in that clip?

23      A.   No.

24                   MR. CRABB:   Could we please move to the clip from

25      the same exhibit beginning at 21:50.
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 1                  (Video playing)

 2                  MR. CRABB:   Would you start it over again, please.

 3      Q.   Can you see that okay, Mr. Ali?

 4      A.   Yes.

 5                  (Video playing)

 6                  JUROR NO. 13:    Your Honor, our screen isn't

 7      working.

 8                  THE COURT:   Okay.    Pause it.   Turn that one

 9      around.

10                  Can you raise the screen level, Mr. DiLorenzo?

11                  MR. DiLORENZO:    Sure.   I'm going to try.     I think

12      I will.

13                  (Pause)

14                  THE COURT:   Okay.    Can you all see that one?

15      Great.

16                  MR. CRABB:   Your Honor, may we approach, please?

17                  THE COURT:   You may.

18                  (The following is a conference held at the

19                   bench outside the hearing of the jury)

20                  MR. CRABB:   On Ms. Himelstein's behalf, could we

21      have a short, perhaps, five-minute break, and maybe during

22      that time we could take advantage of getting Mr. Cramer here

23      to perhaps address the technology.

24                  Thank you.

25                  (This is the end of the bench conference)
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 1                  THE COURT:    All right.   Ladies and gentlemen,

 2      we're going to take a quick five-minute break and see if we

 3      can work this out, so why don't you go back to the jury

 4      room, and we'll call you when we're ready.

 5                  (Jury exits courtroom)

 6                  (Recess taken)

 7                  (Jury enters courtroom)

 8                  THE COURT:    All right.   Hopefully we're all set.

 9                  Mr. Crabb.

10                  MR. CRABB:    Okay.   Would you please return to the

11      clip that begins at 21:45.

12      BY MR. CRABB:

13      Q.   Mr. Ali, in this clip I believe you identified

14      Mr. Dijawi --

15                  MS. PETERSON:    Your Honor, I'm going to object;

16      asked and answered.      We've moved on to Clip 21:50.

17                  THE COURT:    Overruled.

18      Q.   Mr. Ali, I believe in this clip you identified

19      Mr. Dijawi.

20      A.   Yes.

21      Q.   Would you watch it again closely and see if there's

22      anyone else in this clip that you recognize.

23                  MS. PETERSON:    Objection, Your Honor.

24                  THE COURT:    Overruled.

25                  JUROR NO. 12:    Excuse me, Judge, our screen is out
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 1      again.

 2                   THE COURT:   Okay.   Let's move the -- let's turn

 3      the big one around.

 4                   (Pause)

 5                   THE COURT:   Can you see that?     All right.

 6                   All right.   There are some things I can control,

 7      and there are some things I can't.

 8                   All right.   Let's give it another try.

 9      Q.   Mr. Ali, can you see the video on your screen?

10      A.   Yes.

11                   MR. CRABB:   Please continue.

12                   (Video playing)

13      Q.   Mr. Ali, did you recognize anyone else?

14      A.   Yes, I did recognize somebody else.

15      Q.   Who else did you recognize?

16      A.   Zakaria Barghathi, otherwise known as Jutuf.

17      Q.   Mr. Ali, we're going to play the clip again, and please

18      tell us when you see Jutuf.

19      A.   Okay.

20                   (Video playing)

21      A.   Stop it.

22      Q.   Would you, again, touch the screen to show us where you

23      see Jutuf.

24      A.   (Witness complies)

25      Q.   Mr. Ali, I'm showing you what's been admitted as
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 1      Government's Exhibit 188-1A.       Is the Jutuf on the screen the

 2      same Jutuf you identified yesterday?

 3      A.   Yes.

 4                   MR. CRABB:   Could we please now go to the clip

 5      that begins at 21:50.

 6                   (Video playing)

 7                   MR. CRABB:   Go to the beginning and pause it,

 8      please.

 9      Q.   First of all, can you see that clip, Mr. Ali?

10      A.   Yes.

11      Q.   Okay.   We'll play this clip.     If you recognize anyone,

12      would you please say so, and we'll pause the video?

13      A.   Okay.

14                   MR. CRABB:   Please start.

15                   (Video playing)

16      A.   Stop it, please.     Yes.

17      Q.   Did you recognize someone?

18      A.   Yes.

19      Q.   Who did you recognize?

20      A.   Walid Birnawi.

21      Q.   Would you please mark on the screen where you saw

22      Mr. Birnawi?

23      A.   Yes.    Can you back up a little bit?     Because here it's

24      not as clear.

25                   (Video playing)
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 1      A.   Yes, here.

 2                  MR. CRABB:   Your Honor, may the record reflect

 3      that the time stamp is at this point 21:51:27?

 4                  THE COURT:   It may.

 5      Q.   Mr. Ali, is the Birnawi you circled there on the screen

 6      the same Birnawi you identified in Government's Exhibit

 7      188-6A?

 8      A.   Yes.

 9                  MR. CRABB:   Could we please go to 21:54 on the

10      video.

11                  (Video playing)

12      Q.   Can you see that screen okay, Mr. Ali?

13      A.   Yes.

14      Q.   Like before, if you recognize anyone in the video,

15      please speak up.

16                  (Video playing)

17      A.   Stop it.

18      Q.   Do you recognize someone?

19      A.   Yes.

20      Q.   Who did you recognize?

21      A.   Another time Walid Birnawi, the same person.

22      Q.   The same person you identified in the previous clip?

23      A.   Yes.

24      Q.   Would you please mark on the screen for the jury where

25      you see Mr. Birnawi.
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 1      A.   (Witness complies)

 2                   MR. CRABB:   Your Honor, may the record reflect the

 3      time stamp at this point is 21:54:54?

 4                   THE COURT:   It may.

 5                   MR. CRABB:   Continue the clip.

 6                   (Video playing)

 7                   MR. CRABB:   Would you please play the video

 8      starting at 22:01.

 9      Q.   Can you see that okay, Mr. Ali?

10      A.   Yes.

11      Q.   Again, as you're watching this, if you recognize anyone,

12      please let us know.

13      A.   Okay.

14                   MR. CRABB:   Start the video, please.

15                   (Video playing)

16      A.   Stop it here.

17      Q.   Who do you recognize now?

18      A.   Abdel Rahman Blablu.

19      Q.   Can you please mark on the screen where you see him.

20      A.   (Witness complies)

21      Q.   Mr. Ali, I'm showing you what was admitted yesterday as

22      Government's Exhibit 188-16A.       Is this the same Mr. Blablu

23      you identified yesterday?

24      A.   Yes.

25                   MR. CRABB:   Your Honor, may the record reflect the
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 1      time stamp at this point is 22:01:47?

 2                  THE COURT:    It may.

 3                  MR. CRABB:    Would you continue the video, please.

 4                  (Video playing)

 5      A.   Stop it here.

 6      Q.   Do you recognize someone in this screen of the video?

 7      A.   Yes.

 8      Q.   Who do you recognize?

 9      A.   Zubayr Bakoush.

10      Q.   Can you please mark on the screen where you see

11      Mr. Bakoush.

12      A.   (Witness complies)

13                  MR. CRABB:    Your Honor, may the record reflect

14      that the time stamp is 22:01:57?

15                  THE COURT:    It may.

16      Q.   Mr. Ali, I'm showing you what was admitted yesterday as

17      Government's Exhibit 188-8A.        Is this the same Mr. Bakoush

18      that you see on the video now?

19      A.   Yes.

20                  MR. CRABB:    Would you continue the video, please.

21                  (Video playing)

22      A.   Stop here.

23      Q.   Do you recognize that individual?

24      A.   Yes.

25      Q.   Who is that?
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 21 of 97   5071


 1      A.   Aymen Dijawi.

 2      Q.   How are you able to recognize him from behind?

 3      A.   The way he moves around, his motion, and his clothes.

 4      Q.   Had you seen him earlier in the video?

 5      A.   In the first segment, first clip.

 6      Q.   Would you please mark on the screen where Mr. Dijawi is.

 7      A.   (Witness complies)

 8                   MR. CRABB:   Your Honor, may the record reflect

 9      that the time stamp at this point is 22:02:22?

10                   THE COURT:   It may.

11                   MR. CRABB:   Could we please go to the clip of

12      Camera 6 at 22:02.     To be clear, this is Camera 6 at time

13      22:02.

14      Q.   Can you see this clip on your screen, Mr. Ali?

15      A.   Yes.

16      Q.   Again, would you please watch it, and let us know if you

17      recognize anyone.

18      A.   Okay.

19                   MR. CRABB:   Please continue.

20                   (Video playing)

21      A.   Stop.

22      Q.   Do you recognize someone now?

23      A.   Yes.

24      Q.   Who do you recognize?

25      A.   Yahya Al-Zway.
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 1      Q.   Does that person have a nickname?

 2      A.   Jamaica, yes.

 3      Q.   Would you please mark on the screen where you see

 4      Jamaica.

 5      A.   (Witness complies)

 6                   MR. CRABB:   Your Honor, may the record reflect the

 7      time stamp at this point is 22:02:34?

 8                   THE COURT:   It may.

 9      Q.   Mr. Ali, I'm showing you what was admitted yesterday as

10      Government's Exhibit 188-19A.       Is the Jamaica you identified

11      on the screen the same Jamaica you identified in this photo

12      yesterday?

13      A.   Yes.

14                   MR. CRABB:   Would you please continue the clip.

15                   (Video playing)

16      A.   Stop it here.

17      Q.   Do you recognize someone on the screen now?

18      A.   Yes.    Aymen Dijawi.

19      Q.   Could you please circle on the screen where you see

20      Mr. Dijawi.

21      A.   (Witness complies)

22                   MR. CRABB:   Your Honor, may the record reflect the

23      time stamp at this point is 22:03:03?

24                   THE COURT:   It may.

25      Q.   Mr. Ali, is that the same Dijawi you've identified
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 23 of 97   5073


 1      previously on these clips?

 2      A.   Yes.

 3                  MR. CRABB:    Would you please continue.

 4                  (Video playing)

 5      A.   Stop it here.

 6      Q.   Do you recognize someone now, Mr. Ali?

 7      A.   Yes.

 8      Q.   Who do you recognize?

 9      A.   Zubayr Bakoush.

10      Q.   Would you again, please, mark the screen to show where

11      Mr. Bakoush is.

12      A.   (Witness complies)

13                  MR. CRABB:    Your Honor, may the record reflect the

14      time stamp is 22:03:12?

15                  THE COURT:    It may.

16      Q.   Mr. Ali, is that the same Mr. Bakoush you previously

17      identified in these clips?

18      A.   Yes.

19                  MR. CRABB:    Would you please continue.

20                  (Video playing)

21      A.   Stop it here.

22      Q.   Do you recognize someone?

23      A.   Yes.

24      Q.   Who do you recognize?

25      A.   Another time, Aymen Dijawi.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 24 of 97    5074


 1      Q.   Could you please mark on the screen where you see

 2      Mr. Dijawi.

 3      A.   (Witness complies)

 4                  MR. CRABB:    Your Honor, may the record reflect the

 5      time stamp is 22:03:55?

 6                  THE COURT:    It may.

 7                  MR. CRABB:    Please continue the clip.

 8                  (Video playing)

 9                  MR. CRABB:    Could we please go to the clip from

10      Camera 6 at 22:02.

11      Q.   Can you see that clip okay, Mr. Ali?

12      A.   Yes.

13      Q.   Again, as it plays, please let us know if you recognize

14      anyone.

15                  (Video playing)

16      A.   Yes, I do.

17      Q.   Who do you recognize?

18      A.   Walid Birnawi.

19      Q.   Would you please circle Mr. Birnawi on the screen.

20      A.   (Witness complies)

21                  MR. CRABB:    Your Honor, may the record reflect the

22      time stamp is 22:01:19?

23                  THE COURT:    It may.

24                  MR. CRABB:    Would you back up the clip a bit.

25      Q.   Mr. Ali, would you watch this.       Would you tell us if you
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 25 of 97       5075


 1      can identify what Mr. Birnawi has in his hand?

 2      A.   Repeat the video.

 3                   (Video playing)

 4      A.   He's carrying a Kalashnikov rifle.

 5      Q.   Okay.    We're going to continue the video.      Let us know

 6      if you recognize anyone else.

 7                   (Video playing)

 8      A.   Yes.    Stop here.

 9      Q.   Who do you recognize in this screen?

10      A.   Once again, Abdel Rahman Blablu.

11      Q.   Would you please mark where you see Mr. Blablu.

12      A.   (Witness complies)

13                   MR. CRABB:   Your Honor, may the record reflect the

14      time stamp is 22:02:57?

15                   THE COURT:   It may.

16      Q.   Mr. Ali, is that the same Mr. Blablu you previously

17      identified?

18      A.   Yes.

19                   MR. CRABB:   Please continue.

20                   (Video playing)

21      A.   Stop here.

22      Q.   Do you recognize someone now?

23      A.   Yes.

24      Q.   Who do you recognize?

25      A.   Yahya Al-Zway, Jamaica.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 26 of 97     5076


 1      Q.   Would you please mark on the screen where you see

 2      Jamaica.

 3      A.   (Witness complies)

 4                  MR. CRABB:    Your Honor, may the record reflect the

 5      time stamp is 22:03:06?

 6                  THE COURT:    It may.

 7                  MR. CRABB:    Can you back up the clip a bit,

 8      please.

 9      Q.   Mr. Ali, can you tell what is in Mr. Jamaica's hand?

10      A.   On the left -- with the left hand he's carrying a weapon

11      or a belt that has a weapon.        On the right hand side he's

12      carrying a tank used for gasoline.

13                  MR. CRABB:    Would you please continue the clip.

14      A.   Metal, made of metal.

15                  (Video playing)

16      A.   Stop here.

17      Q.   Do you recognize that person entering the doorway?

18      A.   Yes.

19      Q.   Who is that?

20      A.   Once again, Aymen Dijawi.

21      Q.   Is that the same Dijawi you identified earlier in the

22      clips?

23      A.   Yes.

24      Q.   Is there anything in this clip different about how

25      Mr. Dijawi's dressed than he was in the earlier clips?
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 27 of 97     5077


 1      A.     Yes.

 2      Q.     What's different?

 3      A.     He's wearing a scarf around his neck, a white scarf

 4      around his neck.

 5                     MR. CRABB:   Please continue.

 6                     (Video playing)

 7                     MR. CRABB:   Would you please play the clip from

 8      Camera 1 at 22:03.

 9      Q.     Can you see that clip okay, Mr. Ali?

10      A.     Yes.

11      Q.     As before, please let us know if you recognize anyone.

12      A.     Okay.

13                     (Video playing)

14      A.     Stop.

15      Q.     Who do you recognize now?

16      A.     Aymen Dijawi.

17      Q.     Would you please mark where you see Mr. Dijawi.

18      A.     (Witness complies)

19                     MR. CRABB:   Your Honor, may the record reflect the

20      time stamp is 22:03:42?

21                     THE COURT:   It may.

22      Q.     Mr. Ali, could you tell if Mr. Dijawi has a weapon or

23      not?

24      A.     Yes.    There's a weapon here.   It's a Kalashnikov.

25                     MR. CRABB:   Would you please continue.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 28 of 97   5078


 1                  (Video playing)

 2      A.   Stop here.

 3      Q.   Do you recognize someone in this scene?

 4      A.   Yes.

 5      Q.   Who do you recognize?

 6      A.   Zubayr Bakoush.

 7      Q.   Could you please mark on the screen where you see

 8      Mr. Bakoush.

 9      A.   (Witness complies)

10                  MR. CRABB:    Your Honor, may the record reflect the

11      time stamp is 22:03:56?

12                  THE COURT:    It may.

13      Q.   Is that the same Mr. Bakoush you've identified in

14      earlier clips?

15      A.   Yes.

16                  MR. CRABB:    Continue, please.

17                  (Video playing)

18      A.   Stop here.

19      Q.   Who is that?

20      A.   Once again, Zubayr Bakoush.

21      Q.   Can you tell if he has a weapon?

22      A.   He's fully armed, and in his hand there's a Kalashnikov.

23                  MR. CRABB:    Your Honor, may the record reflect the

24      time stamp is 22:05:44?

25                  THE COURT:    It may.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 29 of 97   5079


 1                  (Video playing)

 2      A.   Stop here.

 3      Q.   Who is that individual depicted on the screen?

 4      A.   Walid Birnawi.

 5      Q.   Is that the same Birnawi you've identified in the

 6      earlier clips?

 7      A.   Yes.

 8      Q.   Could you tell if Mr. Birnawi was armed?

 9      A.   Yes.

10      Q.   What type of weapon do you see with Mr. Birnawi?

11      A.   The same weapon, a Kalashnikov.

12                  MR. CRABB:    Your Honor, may the record reflect the

13      time stamp is 22:05:55?

14                  THE COURT:    It may.

15                  MR. CRABB:    Continue, please.

16                  (Video playing)

17      A.   Stop it here.

18      Q.   Do you recognize someone in this screen?

19      A.   Yes.

20      Q.   Who did you recognize?

21      A.   Yahya Al-Zway, known as Jamaica.

22      Q.   Will you mark where you see Mr. Jamaica.

23      A.   (Witness complies)

24                  MR. CRABB:    Your Honor, may the record reflect the

25      time stamp is 22:06:26?
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 30 of 97      5080


 1                   THE COURT:    It may.

 2                   (Video playing)

 3                   MR. CRABB:    May I have just a moment, Your Honor?

 4                   (Pause)

 5                   MR. CRABB:    Would you please go to the clip from

 6      Camera 5 at 23:54.

 7      Q.   Can you see that okay, Mr. Ali?

 8      A.   Yes, it's okay.      Not bad.

 9      Q.   Okay.   Let us know if you recognize anyone in this clip,

10      please.

11                   (Video playing)

12      A.   Stop.   Khalid Naihum.

13      Q.   Mr. Ali, I'm showing you what was admitted yesterday as

14      Government's Exhibit 188-17A.        Is this the same Naihum you

15      see in the video?

16      A.   Yes.

17                   MR. CRABB:    Your Honor, may the record reflect the

18      time stamp is 23:54:35?

19                   THE COURT:    It may.

20                   MR. CRABB:    Please continue the clip, please.

21                   (Video playing)

22      A.   Stop.   Return it back.

23                   Not clear.    Please return from the beginning, from

24      the beginning.

25                   (Video playing)
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 31 of 97        5081


 1      A.   Stop it here.

 2      Q.   Do you recognize someone?

 3      A.   No.    Move it along.

 4                   (Video playing)

 5      A.   Can you repeat it?

 6      Q.   Yes.

 7                   (Video playing)

 8      A.   Stop it here.

 9                   Please stop it when I say because I recognized

10      somebody in two instances when they were passing in the

11      light.

12                   Of course, there is Ahmed Abu Khatallah here.

13      Q.   Where do you see Mr. Khatallah?

14      A.   When we stopped the video, he's here.        But I recognized

15      him at the first instance in that area there when the light

16      was on him.

17                   MR. CRABB:   Would you go back to the beginning,

18      please.

19      Q.   And would you please let us know, Mr. Ali, when you

20      first notice Mr. Khatallah.

21                   (Video playing)

22      A.   Stop.    No, no.   Move it along.

23                   Here.

24                   Return, please.   Go back a little.

25                   (Video playing)
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 32 of 97     5082


 1      A.   Stop.

 2      Q.   Where do you see Mr. Khatallah?

 3      A.   Here.

 4                   MR. CRABB:   Your Honor, may the record reflect the

 5      time stamp is 23:54:36?

 6                   THE COURT:   It may.

 7                   MR. CRABB:   Can we now please go to the clip from

 8      Camera 1 at 23:53.

 9                   (Video playing)

10      Q.   Again, Mr. Ali, please let us know if you recognize

11      anyone in this clip.

12                   (Video playing)

13      A.   Stop here.

14      Q.   Who do you recognize?

15      A.   Ahmed Fitori.

16      Q.   Can you please mark on the screen where you see

17      Mr. Fitori.

18      A.   (Witness complies)

19                   MR. CRABB:   Your Honor, may the record reflect

20      that the time stamp is 23:53:26?

21                   THE COURT:   It may.

22      Q.   Mr. Ali, I'm showing you what was admitted yesterday as

23      Government's Exhibit 188-12A.       Is this the same Mr. Fitori

24      you see on the video now?

25      A.   Yes.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 33 of 97      5083


 1                  MR. CRABB:    Would you continue the video, please.

 2                  (Video playing)

 3      A.   Stop here.

 4      Q.   Who do you recognize now?

 5      A.   Mustafa Al-Imam.

 6      Q.   Would you please mark on the screen where you see

 7      Mr. Al-Imam?

 8      A.   (Witness complies)

 9                  MR. CRABB:    Your Honor, may the record reflect the

10      time stamp is 23:53:44?

11                  THE COURT:    It may.

12      Q.   Mr. Ali, I'm showing you what was admitted yesterday as

13      Government's Exhibit 188-18A.       Is this the same Mr. Al-Imam

14      that you see on the video screen now?

15      A.   Yes.

16                  MR. CRABB:    Please continue.

17                  (Video playing)

18                  MR. CRABB:    Could we please now go to the clip

19      from Camera 1 at 23:54, a clip with two breaks in it.

20                  May I have just a moment, Your Honor?

21                  THE COURT:    Yes.

22                  (Pause)

23                  MR. CRABB:    Would you please start the clip.

24                  (Video playing)

25      A.   Stop here.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 34 of 97    5084


 1      Q.     Who do you recognize in this scene?

 2      A.     Khalid Naihum.

 3      Q.     Would you please mark on the screen where you see

 4      Mr. Naihum.

 5      A.     (Witness complies)

 6                    MR. CRABB:    Your Honor, may the record reflect the

 7      time stamp is 23:54:49?

 8                    THE COURT:    It may.

 9      Q.     Mr. Ali, is that the same Naihum you identified a moment

10      ago?

11      A.     Yes.

12                    MR. CRABB:    Would you continue, please.

13                    (Video playing)

14      A.     Stop here.

15      Q.     Who do you recognize in this scene?

16      A.     Ahmed Abu Khatallah.

17      Q.     Could you please mark on the screen where you see

18      Mr. Khatallah.

19      A.     (Witness complies)

20                    MR. CRABB:    Your Honor, may the record reflect the

21      time stamp is 23:55:02?

22                    THE COURT:    It may.

23      Q.     Mr. Ali, could you tell whether or not Mr. Khatallah was

24      armed?

25      A.     Yes.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 35 of 97   5085


 1      Q.   How was he armed?

 2      A.   Carrying a Kalashnikov rifle.

 3                  MR. CRABB:    Please continue.

 4                  (Video playing)

 5      A.   Stop here.

 6      Q.   Who do you recognize in this scene?

 7      A.   Aymen Dijawi.

 8      Q.   Would you please mark on the screen where you see

 9      Mr. Dijawi.

10      A.   (Witness complies)

11                  MR. CRABB:    Your Honor, may the record reflect the

12      time stamp is 23:55:07?

13                  THE COURT:    It may.

14      Q.   Mr. Ali, is that the same Mr. Dijawi you've identified

15      several times previously?

16      A.   Yes.

17                  MR. CRABB:    Please continue.

18                  (Video playing)

19      A.   Stop here.

20      Q.   Who do you recognize now?

21      A.   Khalid Naihum.

22      Q.   Would you please mark on the screen where you see

23      Mr. Naihum.

24      A.   (Witness complies)

25                  MR. CRABB:    Your Honor, may the record reflect the
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 36 of 97   5086


 1      time stamp is 23:56:35?

 2                   THE COURT:   It may.

 3                   MR. CRABB:   Please continue.

 4                   (Video playing)

 5      A.   Stop.

 6      Q.   Who do you recognize now, Mr. Ali?

 7      A.   Aymen Dijawi.

 8      Q.   Could you please mark on the screen where you see

 9      Mr. Dijawi?

10      A.   (Witness complies)

11                   MR. CRABB:   Your Honor, may the record reflect the

12      time stamp is 23:56:54?

13                   THE COURT:   It may.

14                   MR. CRABB:   Please continue.

15                   (Video playing)

16      A.   Stop here.

17      Q.   Who do you recognize in this scene?

18      A.   Ahmed Fitori, once again.

19      Q.   Could you mark on the screen where you see Mr. Fitori.

20      A.   (Witness complies)

21                   MR. CRABB:   Your Honor, may the record reflect the

22      time stamp is 23:57:19?

23                   THE COURT:   It may.

24                   MR. CRABB:   Please continue.

25                   (Video playing)
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 1      A.   Stop here.

 2      Q.   Who do you recognize?

 3      A.   Again, Ahmed Fitori.

 4      Q.   Would you please mark on the screen where he is.

 5      A.   (Witness complies)

 6                  MR. CRABB:    Your Honor, may the record reflect the

 7      time stamp is 00:01:00?

 8                  THE COURT:    It may.

 9                  MR. CRABB:    Please continue.

10                  (Video playing)

11      A.   Stop it here.

12      Q.   Who do you recognize now?

13      A.   Ahmed Abu Khatallah.

14      Q.   Would you please mark on the screen where you see

15      Mr. Khatallah.

16      A.   (Witness complies)

17                  MR. CRABB:    Your Honor, may the record reflect the

18      time stamp is 00:01:52?

19                  THE COURT:    It may.

20                  MR. CRABB:    Please continue.

21                  (Video playing)

22                  MR. CRABB:    Would you pause it, please.

23      Q.   Can you tell what's in Mr. Khatallah's hand there?

24      A.   A Kalashnikov rifle.

25      Q.   Would you mark on the screen where you see the
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 38 of 97     5088


 1      Kalashnikov.

 2      A.   (Witness complies)

 3                  MR. CRABB:    Your Honor, may the record reflect the

 4      time stamp is 00:01:56?

 5                  THE COURT:    It may.

 6                  MR. CRABB:    Continue, please.

 7                  (Video playing)

 8      A.   Stop it here.

 9      Q.   Who do you recognize?

10      A.   Back up a little bit.

11                  (Video playing)

12      A.   Stop here.

13      Q.   Who do you recognize?

14      A.   Ahmed Al-Fitori once again.

15                  MR. CRABB:    Your Honor, may the record reflect the

16      time stamp is 00:01:59?

17                  THE COURT:    It may.

18                  MR. CRABB:    Would you continue, please.

19                  (Video playing)

20      A.   Stop it here.

21      Q.   Who do you recognize?

22      A.   Khalid Saglusi, yes.

23                  MR. CRABB:    May I have just a moment, Your Honor?

24                  THE COURT:    You may.

25                  (Pause)
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 39 of 97      5089


 1      Q.   Mr. Ali, I'm showing you what was admitted yesterday as

 2      Government's Exhibit 634-14A.       Is this the same person you

 3      just identified in the video?

 4      A.   Yes.

 5                   MR. CRABB:   Please continue.

 6                   (Video playing)

 7                   MR. CRABB:   Would you please go to a clip from

 8      Camera 1 at 00:24.

 9      Q.   Can you see that okay, Mr. Ali?

10      A.   Yes.

11      Q.   Again, please let us know if you recognize anyone.

12                   (Video playing)

13      A.   Okay.   Stop it here.

14      Q.   Who do you recognize?

15      A.   Mustafa Al-Imam.

16      Q.   Would you please mark on the screen where you see

17      Mr. Imam?

18      A.   (Witness complies)

19      Q.   Mr. Ali, I'm showing you what was admitted yesterday as

20      Government's Exhibit 188-18A.       Is this the same Mr. Al-Imam

21      you see in the video now?

22      A.   Yes.

23                   MR. CRABB:   Your Honor, may the record reflect

24      that the time stamp is 00:00:32?

25                   THE COURT:   It may.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 40 of 97   5090


 1                  MR. CRABB:    Continue, please.

 2                  (Video playing)

 3                  MR. CRABB:    Would you please go to a clip from

 4      Camera 1 at 00:03.

 5                  (Video playing)

 6      Q.   Did you recognize anyone in that clip?

 7      A.   Repeat the video.     I didn't get it.

 8                  (Video playing)

 9      A.   Yes, stop.

10      Q.   Who do you recognize?

11      A.   Mustafa Al-Imam once again.

12      Q.   Would you please mark on the screen where you see

13      Mr. Al-Imam.

14      A.   (Witness complies)

15                  MR. CRABB:    Your Honor, may the record reflect the

16      time stamp is 00:03:10?

17                  THE COURT:    It may.

18                  MR. CRABB:    Please continue.

19                  (Video playing)

20                  MR. CRABB:    Your Honor, may we approach?

21                  (The following is a conference held at the

22                   bench outside the hearing of the jury)

23                  THE COURT:    Is this a good time for a break?

24                  MR. CRABB:    Yes.

25                  (This is the end of the bench conference)
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 41 of 97     5091


 1                  THE COURT:   Okay.    Ladies and gentlemen, we're

 2      going to take our morning break.         We'll see you back here at

 3      11:20, okay?    15 minutes.

 4                  (Jury exits courtroom)

 5                  THE COURT:   Great.    How long do you think you

 6      have?

 7                  MR. CRABB:   Probably a little less than a half

 8      hour.

 9                  THE COURT:   See you in 15.

10                  (Recess taken)

11                  MS. PETERSON:     Your Honor, just depending on how

12      accurate Mr. Crabb's estimate is when he's going to finish,

13      there is an issue we're going to have to address before

14      starting the cross outside of the presence of both the jury

15      and the witness, so it may be that, if it works for the

16      Court's schedule, we ought to try to shoot on taking a

17      slightly earlier lunch break, if that's possible.

18                  THE COURT:   Okay.    Why don't you approach.

19                  (The following is a conference held at the

20                   bench outside the hearing of the jury)

21                  THE COURT:   Do you want to give me a preview?

22                  MS. PETERSON:     Oh, yes.    The Court allowed

23      Mr. Crabb to elicit from this witness that Dijawi, Jamaica,

24      and Birnawi, I believe it was -- it's back at the desk --

25      worked for Khatallah based on his observations and things
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 42 of 97   5092


 1      Mr. Abu Khatallah told him, and then he went on to say

 2      Dijawi is killing people for Abu Khatallah.

 3                  The 302s say that Dijawi bragged about killing

 4      people.   It doesn't make any connection with Abu Khatallah.

 5                  We can't cross-examine him and open up a door not

 6      knowing what he's going to suddenly say given the compound

 7      nature of the questions that were not only compound with

 8      respect to the three witnesses but were also compound with

 9      respect to whether he saw it or heard it.         It's a huge

10      minefield for us, and I think we need to have an opportunity

11      to ask this witness questions outside the presence of the

12      jury so we know what he's going to say given that -- how he

13      led into it.

14                  MR. CRABB:   Your Honor, we object to that.

15      There's no basis to conduct what is basically a deposition

16      of a trial witness in the middle of his testimony.

17                  MS. PETERSON:    Well, there is when the government,

18      by virtue of doing a double compound question, got in

19      evidence that has never been disclosed to us before that

20      somehow Dijawi is actually killing people on behalf of

21      Mr. Abu Khatallah, which is not what the 302 says.

22                  MR. CRABB:   Your Honor, with respect to that, one,

23      it has been disclosed.      In fact, the Court admitted it under

24      Rule 404(b).    And the questions that I asked were objected

25      to, and the objections were overruled by the Court;
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 43 of 97          5093


 1      therefore, they were proper.       So there's no basis to conduct

 2      some type of deposition of this witness.

 3                  THE COURT:   I'll go back to the transcript, but I

 4      recall the question -- there was an initial question asked

 5      in the disjunctive based either on your observations or your

 6      discussions with -- or what you heard from the defendant,

 7      did they work for him?      And I allowed that.     And then there

 8      was a follow-up as to what their role was, and that's when

 9      he mentioned killing people.       Frankly, I don't -- I don't

10      recall whether he said all three or just one.

11                  MS. PETERSON:    He said just one, Dijawi, and the

12      302s -- well, he said Dijawi kills people for Abu Khatallah,

13      but the 302s --

14                  THE COURT:   Well, what's wrong with that?          It's

15      either based on what he knows or what he saw.

16                  MS. PETERSON:    So I have to ask --

17                  THE COURT:   He didn't say anything about the other

18      two killing people.

19                  MS. PETERSON:    But it's because of the way the

20      government asked the question that we don't know what his

21      basis of knowledge is for Dijawi to kill people at the

22      request of Abu Khatallah.      There must be a basis.

23                  THE COURT:   Do you want to clean that up and ask

24      him what the basis for that is?

25                  MR. CRABB:   If the Court would like me to.
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 1                  THE COURT:   Why don't you do that so it's clear,

 2      whether it's from what he --

 3                  MS. PETERSON:    And, Your Honor, to the extent that

 4      the basis of knowledge is what is in the 302, which is

 5      Dijawi bragged about it and it's not connected to Abu

 6      Khatallah, then this is hearsay.

 7                  THE COURT:   Well, that's contrary to what he

 8      testified to on direct.

 9                  MS. PETERSON:    Again, that's because of the

10      convoluted question that he's asked.

11                  THE COURT:   Well, it's either based -- he said

12      it's either based on what he saw or what the defendant told

13      him, and if you want to impeach him that the defendant

14      didn't tell you this, you heard it from Dijawi, you can do

15      that, okay?

16                  I don't think it implicates the other two because

17      he didn't testify that the other two killed people.

18                  MS. PETERSON:    Because of the improper combined

19      question.    It's really difficult for us to know what he's

20      going to say in response to that question, and I don't want

21      to elicit, obviously, more bad information that he has that

22      he's never disclosed before.       If he's going to suddenly

23      declare that Abu Khatallah told him something, I don't want

24      to elicit that.     That's never been said before, and because

25      of the way the government questioned -- I mean, asked the
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 1      questions, we don't have any idea what he's going to say.

 2                  THE COURT:   What's the nonhearsay basis for his

 3      testimony that Dijawi is a hit man for the defendant?

 4                  MR. CRABB:   It's my understanding, Your Honor,

 5      that he witnessed Mr. Dijawi and Birnawi in the defendant's

 6      presence discussing and/or planning such activities.

 7      Jamaica's the one he didn't see in his presence.          Jamaica is

 8      the only move-out from what Mr. Khatallah told him.

 9                  THE COURT:   The only thing that's in evidence is

10      Dijawi.    That's a co-conspirator statement, if it came from

11      Dijawi's mouth?

12                  MR. CRABB:   Yes, Your Honor.     I do believe that

13      earlier, with the more introductory question, I believe the

14      witness testified that Birnawi, Jamaica, and Dijawi all

15      worked for Khatallah committing, I think he first said,

16      criminal acts on his behalf.       And later, when I asked him to

17      be more specific, is when he got into the violence and said

18      murders.

19                  But I believe that his testimony was that all

20      three were in that capacity for Mr. Khatallah.

21                  MS. PETERSON:    And if that's the case, then that,

22      again, is information -- I don't believe that that's what he

23      said, but we don't want to have Mr. Crabb go back and reopen

24      this and ask additional questions to elicit more.          That's

25      what they're doing when I'm making my "asked and answered"
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 1      objections because the government's cleaning it up and going

 2      back and getting him to say more than he said before the

 3      first time he asked him.

 4                   THE COURT:   That's a different issue.      I overruled

 5      that objection.

 6                   MS. PETERSON:   I understand.

 7                   THE COURT:   Let's stick to this one.

 8                   MS. PETERSON:   So, Your Honor, I think I need time

 9      to look back -- see if we can find out in the transcript

10      exactly what he said before.       I don't want to go head first

11      into a wall here.

12                   THE COURT:   We'll take a short break after the

13      direct, but I don't want to -- we'll see what the timing is,

14      all right?

15                   MS. PETERSON:   Okay.

16                   MR. CRABB:   One last thing, Your Honor.

17                   THE COURT:   Sure.

18                   MR. CRABB:   This was a specific issue that we

19      raised in our motion to admit other claims evidence, and the

20      Court issued an order that explicitly said we could elicit

21      evidence about the defendant's co-conspirators being hit men

22      for him.   This was litigated and ruled on ahead of trial.

23      There's no surprise here.

24                   MS. PETERSON:   But, Your Honor, that didn't give

25      the specifics, and the reason we asked for -- if this is a
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 47 of 97          5097


 1      co-conspirator statement, the reason we asked the government

 2      to disclose those first and had conversations about getting

 3      some notice is so that this wouldn't come up in the middle

 4      of trial.    It is -- it doesn't matter if the Court has said

 5      as 404(b) evidence you can bring it in if you have a way to

 6      bring it in.    That doesn't give them the authority to bring

 7      in a co-conspirator statement when it doesn't meet the

 8      parameters of a co-conspirator statement.

 9                   This clearly wasn't a statement in furtherance of

10      a conspiracy.    According to the 302s --

11                   THE COURT:    If he's bragging about it?

12                   MS. PETERSON:    If he's bragging to someone else

13      that he committed a homicide, not that it was tied to Abu

14      Khatallah.    He doesn't say anything in his brags about "Abu

15      Khatallah told me to do this."       He just said, "I kill

16      people."

17                   "Smell the blood on my hands," I believe is what

18      he says in the 302.       It has nothing to do with Abu

19      Khatallah.

20                   MR. CRABB:    One last point.   As we pointed out

21      yesterday, 302s are not the statement of a witness.             They

22      are brief reports of agents right now.        It's quite clear

23      I've spoken to the witness before he testified.          He knows a

24      lot of things not recorded in the 302s.        That's why it's not

25      appropriate to impeach with the 302s because they're not
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 1      witnesses statements.

 2                   THE COURT:   Very well.

 3                   (This is the end of the bench conference)

 4                   (Jury enters courtroom)

 5                   THE COURT:   All righty, Mr. Crabb.

 6                   MR. CRABB:   May I continue, Your Honor?

 7                   THE COURT:   You may.

 8      BY MR. CRABB:

 9      Q.   Good morning, Mr. Ali.

10      A.   Good morning.

11      Q.   Mr. Ali, yesterday you testified about work that you did

12      for the United States government in relation to capturing

13      Mr. Khatallah.    Do you remember that?

14      A.   Yes.

15      Q.   Did you testify that you received a salary while you

16      were performing that work?

17      A.   Yes.

18      Q.   Do you remember exactly how much money the U.S.

19      government paid you as a salary for that work?

20      A.   At the beginning it was $2,500.       After that it was

21      $5,000.     This is a month.

22      Q.   Do you remember how much you got in total of those

23      monthly payments?

24      A.   I don't remember, no.

25      Q.   Now, Mr. Ali, after the capture was successfully
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 49 of 97   5099


 1      executed, were you given a reward by the U.S. government for

 2      your efforts?

 3      A.   Yes.

 4      Q.   How much money were you given as a reward?

 5      A.   $7 million.

 6      Q.   Were you offered that money before you began to work

 7      with the U.S. government?

 8      A.   No.

 9      Q.   Do you remember approximately when you received that

10      reward money?

11      A.   After the time when Abu Khatallah was arrested by eight

12      or nine months, and it was paid in two installments.

13      Q.   Was that reward money in return for your efforts with

14      respect to the capture?

15      A.   No.

16      Q.   What was it for?

17      A.   An appreciation shown by the U.S. government, which I am

18      thankful for, and it was just an outcome of the whole thing.

19      Q.   Was that money given to you for your testimony here in

20      court yesterday and today?

21      A.   Not at all.

22      Q.   Did you receive that money more than a year before you

23      came into court and testified?

24      A.   More than a year.

25      Q.   Mr. Ali, after you worked on the capture of
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 50 of 97    5100


 1      Mr. Khatallah, did you eventually relocate with your family

 2      to the United States?

 3      A.   Yes.

 4      Q.   During that period when you got to the United States and

 5      before you received the reward money, did the FBI help you

 6      with the expenses for you and your family?

 7      A.   Yes.

 8      Q.   During that period when you first got to the United

 9      States with your family, did you have any way of supporting

10      yourself?

11      A.   No.    I left everything that I had and owned back in

12      Libya.

13      Q.   Tell the jury, please, what types of expenses for you

14      and your family the FBI covered.

15      A.   Residence, daily expenses for food, and covering the

16      cost of my wife's English classes.        My son is young, and

17      he's in a kindergarten or a day care center.         And their

18      health necessities, our health necessities.         That's it.

19      Q.   Do you know the total of money that the FBI paid to

20      cover you and your family's expenses?

21      A.   I don't remember it.

22      Q.   Did covering those expenses have anything to do with

23      your testimony yesterday and today here in court?

24      A.   Not at all, no.

25      Q.   Why do you say that?
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 51 of 97    5101


 1      A.   Because in the beginning I was refusing.

 2      Q.   Mr. Ali, before you testified today in court, did you

 3      meet with FBI agents?

 4      A.   Yes.

 5      Q.   Did you also meet with the prosecutors?

 6      A.   Yes.

 7      Q.   Do you remember exactly what days you met on?

 8      A.   From the beginning of my arrival.

 9      Q.   Do you remember precisely which days the meetings

10      happened on?

11      A.   No, not really because there were quite a few.

12      Q.   And in any of these meetings did you talk about some of

13      the same topics that you testified about here in court

14      yesterday and today?

15      A.   Yes.

16      Q.   Do you remember precisely at which meeting which topic

17      came up?

18      A.   It's very hard to pinpoint exactly.       So many things were

19      mentioned.    What were mentioned today and yesterday were

20      many things that were mentioned throughout those other days

21      in the past.

22      Q.   During those other days when you met with the FBI and

23      with the prosecutors, did anyone ever ask you to do anything

24      except tell the truth?

25      A.   Not at all, nor did it come from me.
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 1                   MR. CRABB:   Thank you, Your Honor.     No further

 2      questions.

 3                   THE COURT:   Okay.   Please approach.

 4                   (The following is a conference held at the

 5                   bench outside the hearing of the jury)

 6                   THE COURT:   I just pulled the transcript on that

 7      issue that we just discussed, and why don't we take a quick

 8      break, but I think I'd like for you to clarify with the

 9      witness on what basis the statements are from the defendant

10      versus what he saw, what their roles were.

11                   MR. CRABB:   Yes, Your Honor.

12                   THE COURT:   Okay.

13                   MS. PETERSON:   Your Honor, I don't --

14                   THE COURT:   And that would have been the effect of

15      sustaining the compound objection that you made.

16                   MS. PETERSON:   But, Your Honor, the government

17      should not be allowed to reask the questions about what he

18      said.   That's just reemphasizing it for the jury.

19                   THE COURT:   Well, we can proceed.

20                   MS. PETERSON:   Could I have a minute to speak with

21      my colleagues?    Can we take a break and resolve this at the

22      end of that?

23                   (This is the end of the bench conference)

24                   THE COURT:   All right.   Ladies and gentlemen,

25      we have one very brief legal issue to resolve before
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 53 of 97      5103


 1      Ms. Peterson begins her cross-examination so we'll take

 2      about a five-minute break, okay?

 3                  (Jury exits courtroom)

 4                  THE COURT:   Can we escort the witness to the

 5      witness room, please.

 6                  MS. PETERSON:    Your Honor, just so I'm clear, was

 7      the Court proposing doing this outside the presence of the

 8      jury?    If so, then that's exactly what we're asking for.

 9      But if the Court is proposing doing it in front of the jury,

10      then it just reemphasizes a point that we objected to, and I

11      don't know that that's what we want to have happen.

12                  THE COURT:   Well, I was contemplating doing it in

13      front of the jury.

14                  MS. PETERSON:    Your Honor, I think that's just too

15      prejudicial to Mr. Abu Khatallah.

16                  THE COURT:   All right.    Why don't we do it outside

17      the presence of the jury, okay?       Let's call him back and ask

18      him to clarify what the basis of his knowledge is.          He

19      testified as to two independent admissible bases.          Let's

20      figure out which one it is, okay?

21                  MR. CRABB:   Yes, Your Honor.

22                  (Pause)

23                  MR. CRABB:   May I proceed, Your Honor?

24                  THE COURT:   And do you have the transcript, or are

25      you --
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 1                  MR. CRABB:   I do not have the transcript.          From

 2      this morning?

 3                  THE COURT:   Yes.

 4                  MR. CRABB:   No, I do not.

 5                  THE COURT:   Do you recall the line of questioning?

 6                  MR. CRABB:   Yes.    I don't --

 7                  THE COURT:   Okay.    Proceed.

 8                  MR. CRABB:   I don't recall verbatim, but I think I

 9      understand the topic.

10                  THE COURT:   Okay.

11      BY MR. CRABB:

12      Q.   Good morning again, Mr. Ali.

13      A.   Good morning.

14      Q.   I want to go back to something we talked about this

15      morning and ask you some follow-up questions.

16      A.   Yes.

17      Q.   Do you remember this morning I asked you some questions

18      about Mr. Birnawi, Mr. Dijawi, and Jamaica?

19      A.   Yes.

20      Q.   Did I understand correctly that you said that those

21      three committed criminal acts on behalf of Mr. Khatallah?

22                  MS. PETERSON:    Your Honor, can we do this without

23      leading the witness, please?

24                  THE COURT:   Overruled.    No jury.

25      Q.   Did I understand you correctly that those three
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 55 of 97   5105


 1      individuals committed criminal acts on behalf of

 2      Mr. Khatallah?

 3      A.   Yes.

 4      Q.   Let's start with Mr. Dijawi.

 5      A.   Yes.

 6      Q.   Please tell us all the ways that you know that

 7      Mr. Dijawi committed crimes for Mr. Khatallah, things you

 8      saw, things you heard.

 9      A.   Many things.    The things that I have seen and heard

10      directly?

11      Q.   Yes.

12      A.   I mean, there was this one time inside the house when he

13      was sitting and he was bragging talking about when he

14      actually killed an officer, a military officer, and he was

15      bragging that he actually swiped his hand and the blood of

16      people like them that he killed, and bragging about the

17      pistol, the side arm, that he had taken from this officer.

18      Q.   I'm sorry, let me interrupt.      Where did this happen?

19      A.   In the house of -- inside the house of Abu Khatallah.

20      Q.   Was Mr. Khatallah present?

21      A.   Yes.

22      Q.   Please continue.

23      A.   He would actually show us the hand-held walkie-talkie,

24      hand-held radio where he was able -- which belongs to the

25      police department where he could actually open the channels
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 1      and listen.     And I recall Mr. Khatallah told him, "Don't

 2      bring these devices because they can be tracked.          Don't

 3      bring these devices."

 4      Q.   Did Mr. Khatallah say anything else about what

 5      Mr. Dijawi was saying?

 6      A.   I don't recall.

 7      Q.   Any other incidents where you either saw or heard about

 8      Mr. Dijawi committing crimes on behalf of Mr. Khatallah?

 9      A.   The killing of Major General Abdul Fatah Yunis.

10      Q.   Tell us about that.

11                   MS. PETERSON:   Your Honor, I would object even in

12      this context to telling us about that.        That's specifically

13      excluded under the Court's 404(b).

14                   THE COURT:   I'll overrule for this purpose.

15      Q.   Please explain to us about the murder of Colonel Yunis.

16      A.   The killing of Major General Abdul Fatah Yunis, this was

17      an incident that was committed at the hands of Abu Khatallah

18      and his group.

19      Q.   Why do you say that?

20      A.   Because he was killed within the brigade of Abu

21      Khatallah.

22                   Because I was there.    I was present in the

23      operations room of the revolution unit, and it was there

24      that I saw that the general, Major General Abdul Fatah

25      Yunis, was brought by Aymen Dijawi, Walid Birnawi, and Yahya
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 1      Al-Zway.   And it was the first time I had seen Yahya Al-

 2      Zway, known as Jamaica.      And they brought him there, and

 3      they brought him to the Gar-Yunis -- they brought him from

 4      the Gar-Yunis Camp from where they took him to the camp

 5      where the Ubaydah Bin Jarrah brigade was.

 6                  And it's hard to talk about things that I had

 7      heard.   There are so many.

 8      Q.   Let me ask you, do you know what Mr. Dijawi, Jamaica,

 9      and Birnawi did with General Yunis once they brought him to

10      the Ubaydah Bin Jarrah camp?

11      A.   They killed him, then they burned the body, and then

12      they mutilated the remains of the body.

13      Q.   Do you know if Mr. Khatallah had anything to do with

14      that murder?

15      A.   He was one of those who were responsible for that order.

16      Q.   Why do you say that?

17      A.   Because it happened, first of all, on the grounds in the

18      area of his camp, of his unit, and his name is the first

19      that pops up in the local Libyan court of those who are

20      wanted for the murder of Major General Abdul Fatah Yunis.

21                  MS. PETERSON:    Your Honor, objection; hearsay.

22                  THE COURT:   There's no jury.     Overruled.

23      Q.   Mr. Ali, do you remember Mr. Khatallah ever saying

24      anything to you about Mr. Dijawi's role or if he ever asked

25      Mr. Dijawi to commit crimes on his behalf?
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 58 of 97      5108


 1      A.   They would actually praise the role to me.         He would say

 2      to me that he was very grateful and praise the role of what

 3      Aymen Dijawi specifically and Walid Birnawi and Yahya Al-

 4      Zway, and also Sulaiman Dijawi, and what they would do

 5      especially specifically in the greater group that he had.

 6      Q.   Mr. Khatallah praised what types of activities that were

 7      done by Dijawi, Jamaica, and Birnawi?

 8      A.   Usually their crimes, and he would praise them.

 9      Q.   Did these include violent crimes?

10      A.   Everything.

11                  MR. CRABB:    Your Honor, we now have evidence that

12      the basis came directly from the defendant.         I will

13      continue, if the Court would like, but that would seem to be

14      more than sufficient.

15                  THE COURT:    That's fine.    Let's call the jury.

16                  (Jury enters courtroom)

17                  THE COURT:    All right.   Please proceed,

18      Ms. Peterson.

19                  MS. PETERSON:    Thank you, Your Honor.

20                               CROSS-EXAMINATION

21      BY MS. PETERSON:

22      Q.   Good morning, sir.

23      A.   Good morning.

24      Q.   Sir, the name Ali Majrisi, that's the name that you

25      elected to testify under, correct?
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 1      A.   Yes.

 2      Q.   So Ali is your first name, correct?

 3      A.   Yes.

 4      Q.   And you've spent an awful lot of time with the people

 5      sitting at this table over here, haven't you?

 6      A.   Yes.

 7      Q.   So you've become on a first-name basis with the

 8      individuals sitting at this table, correct?

 9      A.   Yes.

10      Q.   All right.   You've refused to talk to us, haven't you?

11      A.   Who is "us"?    Pardon me.

12      Q.   Do you recall this gentleman right here coming down to

13      see you when you were living in Texas?

14      A.   Yes.   Yes, him and someone else.

15      Q.   Right, the gentleman sitting next to him, correct?

16      A.   Exactly, yes.

17      Q.   And they were very polite and introduced themselves to

18      you, correct?

19      A.   Yes.

20      Q.   And they asked if they could talk to you, right?

21      A.   Yes, they asked to talk.

22      Q.   Right.   And you had a brief conversation with them,

23      right?

24      A.   Yes.

25      Q.   And then you said, "Wait a minute, I have to make a
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 1      call," right?

 2      A.    Yes.

 3      Q.    And you called people associated with the folks sitting

 4      at this table, right?

 5      A.    Yes.

 6      Q.    And they told you, "Oh, no, that's a bad idea," right?

 7      A.    No.

 8      Q.    You came out and refused to talk to them after you spoke

 9      to the people sitting at this table, correct?

10      A.    No, they didn't refuse.     They said, "We give you the

11      choice, if you want to talk to them."        But they just told me

12      that, "They belong to the defense team of Ahmed Abu

13      Khatallah" --

14      Q.    Well, these folks had already told you that, sir,

15      correct?

16      A.    -- "and the choice is yours."

17                   THE INTERPRETER:   Forgive me.

18      A.    -- "and the choice is yours.     If you wish to speak with

19      them, speak with them."

20                   But when they first came to me, they approached

21      me.   They said they would wish to talk to me regarding

22      things pertaining to Libya, and that they represent the

23      government, and the government is aware that they are here.

24                   After I called my contacts, they said, "The choice

25      is yours," and they told me that they are with the defense
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 61 of 97     5111


 1      team of Ahmed Abu Khatallah.       So when they came again, I

 2      told them that I wished to end the meeting and want them to

 3      leave.     If they refused, I will call the police, and I

 4      didn't want to continue this discussion about this topic.

 5                    And there are many people from Libya, if you wish

 6      to talk about things pertaining to Libya, and please respect

 7      my -- and they respected my wishes, the ones that visited

 8      me, and they left.

 9      Q.   Right.    And, sir, before you called what you -- I

10      believe you just referred to, but perhaps it wasn't

11      translated properly, your team, right?        You referred to them

12      as "my team"?

13      A.   Not my team.

14                    THE INTERPRETER:   You said "team," right?

15      Q.   "My team" is what you just referred to them as?

16                    THE INTERPRETER:   Could you rephrase that.

17      Q.   Did you refer to them as "my group"?

18      A.   No.    They're not my group, the people who represent the

19      U.S. government.     I'm a person who is helping them, and I'm

20      a civilian, and I do not work with them.         I just provide

21      them with information.      That's it.

22      Q.   You've been on the payroll of the United States

23      government for quite some time, haven't you?

24      A.   How do you mean?

25      Q.   I mean you've been getting money from the United States
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 1      government since early 2013, the beginning of 2013; is that

 2      right?

 3      A.   Yes.

 4      Q.   Right.    And when these gentlemen came and talked to you,

 5      they showed you their credentials, right, business cards?

 6      A.   Yes.    Up until today I still have their cards.

 7      Q.   Right.    And they didn't tell you they worked for the

 8      United States government.      They gave you their business

 9      cards.

10      A.   They said -- no, they did say that they are from the

11      government.

12      Q.   Sir, they gave you their business cards, did they not?

13      A.   Yes.

14      Q.   Right.    After you got their business cards, you went in,

15      and you called your people?

16                    MR. CRABB:   Objection, Your Honor.    That misstates

17      the answer.

18                    THE COURT:   Sustained.

19      Q.   You called these folks?

20      A.   Yes.

21      Q.   And then you came out and told these folks -- pointing

22      to the defense folks -- to leave or you would call the

23      police?

24      A.   Yes.

25      Q.   Okay.    Sir, you testified on direct that you went to
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 1      college in the United States, right?

 2                   MR. CRABB:   Objection, Your Honor.     That's not

 3      what he said.

 4      Q.   Did I get that right?      In North America?    Was it not the

 5      United States?

 6                   THE COURT:   Overruled.

 7      Q.   Sorry, where did you go to college, sir?

 8                   THE INTERPRETER:    Could you rephrase?     I'm sorry.

 9      Q.   Sir, you testified on direct that you went to

10      university -- I mean, perhaps it was a graduate degree -- in

11      North America, right?

12      A.   Yes.

13      Q.   Okay.   So just so I don't get it wrong, was it in the

14      United States, or was it in Canada?

15                   MR. CRABB:   Objection, Your Honor.     May we

16      approach?

17                   THE COURT:   You may.

18                   (The following is a conference held at the

19                   bench outside the hearing of the jury)

20                   MR. CRABB:   Your Honor, the testimony was that he

21      went to college in North America.       There's no reason to get

22      into the specific country involved, and details about his

23      past would make it easier to identify who he is and

24      undermine the whole point of him testifying under a

25      pseudonym.
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 1                  MS. PETERSON:    I'm not going to go any further

 2      than the United States or Canada.

 3                  MR. CRABB:   That's already in the record.          There's

 4      no reason to be any more specific than that.

 5                  MS. PETERSON:    The government doesn't get to pick

 6      and choose what evidence comes in.        I'm not trying to get

 7      him unsafe.

 8                  THE COURT:   Did he attend college prior to his

 9      cooperation or after his cooperation?

10                  MS. PETERSON:    Prior.

11                  THE COURT:   What relevance --

12                  MS. PETERSON:    He speaks English, very well, Your

13      Honor.   He could have gotten a job in the United States.           He

14      didn't have to be on the government's payroll.          It's all of

15      this.    It's very relevant.

16                  MR. CRABB:   There are rules about aliens being

17      employed in the United States.

18                  MS. PETERSON:    I'm sure the government could have

19      taken care of those rules if they could pay him $7 million.

20                  THE COURT:   They speak English in Canada as well,

21      don't they?

22                  MS. PETERSON:    They also speak French, which is

23      why I would like to clarify that it was in the United

24      States, if it was.     If the government knows that it was

25      Canada, that's fine.
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 1                    THE COURT:   You can ask him if it was in the

 2      United States.     I don't think that gives away anything.

 3                    (This is the end of the bench conference)

 4      BY MS. PETERSON:

 5      Q.   Sir, I'm not asking you where specifically you went to

 6      college, but it was in the United States, correct?

 7      A.   No comment.

 8      Q.   Well, sir, you have to comment.       I'm not asking you

 9      specifically.     You have to answer my question.       Was it in

10      the United States, or was it in Canada?

11      A.   Canada.

12      Q.   And at the school you went to in Canada, did they speak

13      English or French-Canadian?

14      A.   Both.

15      Q.   Sir, you took classes that were taught in English in

16      Canada; is that right?

17      A.   Yes.

18      Q.   And how long did you live in Canada?

19      A.   Four years.

20      Q.   And during the time that you were living in Canada, I

21      take it you were speaking English.

22      A.   Normally.

23      Q.   Right.    Do you speak French as well?

24      A.   No.

25      Q.   Okay.    And then after you got your degree in Canada, you
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 66 of 97         5116


 1      moved back to Libya; is that right?

 2      A.   Yes.

 3      Q.   But you have since relocated to the United States

 4      permanently, right?

 5      A.   Yes.

 6      Q.   You've purchased a home.

 7      A.   Yes, normal.

 8      Q.   And your kids are in school here in the United States?

 9                  MR. CRABB:   Your Honor, objection to relevance.

10                  MS. PETERSON:    I'm eliciting the same --

11                  THE COURT:   I'll overrule it.      I'll give you a

12      little leeway, but get to the point.

13      Q.   Your kids are in school in the United States?

14      A.   What's with the details about my children?         Concentrate

15      on me.

16      Q.   Sir, are your children in school in the United States?

17      A.   Yes.

18      Q.   And you testified that your wife is getting English

19      classes paid for by the United States, correct?

20      A.   In the beginning of our arrival.

21      Q.   And, sir, we talked for a minute about the fact that

22      you've been getting payments from the government.          That's

23      been going on since before April of 2013; is that right?

24      A.   I would say the end of 2012, yes.

25      Q.   And it started with payments from --
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 1                  MS. PETERSON:    Your Honor, can we approach for a

 2      moment to make sure I'm not...

 3                  (The following is a conference held at the

 4                   bench outside the hearing of the jury)

 5                  MS. PETERSON:    I just want to make sure that

 6      there's no classification issue with respect to the three-

 7      letter abbreviation for the department for which he was

 8      getting payments from.      I don't believe there -- I'm not

 9      going to go into the specific component of the department,

10      but I think the department is not classified.         I just want

11      to make sure.

12                  MR. CRABB:   Your Honor, I don't believe that the

13      department's classified, but I also don't believe -- this

14      witness only knows he's working with the U.S. government.

15      He had no idea what party was involved.

16                  MS. PETERSON:    Well, he can say that.

17                  THE COURT:   He can say that.

18                  (This is the end of the bench conference)

19      BY MS. PETERSON:

20      Q.   All right.    Sir, when you first started getting paid by

21      the government, you had a contact person you were working

22      with, right?

23      A.   A contact person how?     Could you describe?

24      Q.   Well, you started meeting with a Department of Defense

25      person back in April -- or even earlier -- of 2013 in Libya,
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 68 of 97       5118


 1      right?

 2      A.   Representatives of the U.S. government, as far as I

 3      know.    If they're the secretary of defense or -- I don't

 4      know.

 5                   And it wasn't one person.     Four people would make

 6      contact with me.

 7      Q.   When's the first time you met with members of the United

 8      States government?

 9      A.   It was at the end of 2012.      I don't recall the date

10      specifically.

11      Q.   It was wintertime, correct?

12      A.   It's really hard to tell summer from winter in Libya.

13      Q.   Okay.   Let's try this.    It was well after the attacks on

14      the Mission, correct?

15      A.   After that by a period.

16      Q.   It was several months after that, correct?

17      A.   I'm not really sure.

18      Q.   Okay.   And how did you first get in contact with members

19      of the United States government?

20      A.   How do you mean, how did I?

21      Q.   Did they contact you?     Did you contact them?

22      A.   No, I did not make contact with them.

23      Q.   Well, eventually you ended up meeting with members of

24      the United States government in Libya in late 2012, right?

25      A.   Yes.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 69 of 97     5119


 1      Q.   And they started paying you.

 2      A.   Not from the beginning.

 3      Q.   Okay.   Who did you first come into contact with from the

 4      United States government in Libya?

 5                   MR. CRABB:   Objection, Your Honor, to the identity

 6      of the person.

 7                   THE COURT:   Sustained.

 8      Q.   How did someone first get in contact with you in Libya?

 9                   MR. CRABB:   Objection, Your Honor.     The same

10      reason to relevance.

11                   THE COURT:   I'll overrule that.     I'll overrule

12      that.

13                   THE INTERPRETER:   Please.

14      Q.   How did you first get in contact with the people you

15      were meeting with in Libya in late 2012?

16                   THE COURT:   Without identifying individuals.

17      A.   Are you saying that I contacted them in the question?

18      Q.   No, I'm asking you.     Did you contact them, or did they

19      contact you?

20      A.   They contacted me.

21      Q.   Okay.   And when they contacted you, did they say what

22      part of the United States government they represented?

23                   MR. CRABB:   Objection, Your Honor; relevance.

24                   THE COURT:   Sustained.

25      Q.   How did you come to believe that they represented the
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 70 of 97      5120


 1      United States government?

 2      A.   Because upon first contact they introduced themselves

 3      that they are representatives of the U.S. government.

 4      Q.   Anything -- anything more particular than "We are

 5      representatives of the United States government"?

 6                  MR. CRABB:   Objection, Your Honor.

 7                  THE COURT:   Sustained.

 8      Q.   Did they give you their business cards like

 9      Mr. Lautermilch and Mr. Nassar did?

10                  MR. CRABB:   Objection; relevance and to the form

11      of the question.

12      Q.   Did they give you their business cards?

13                  THE COURT:   Thank you.    I'll allow that question.

14      A.   They had with them, each one, their own identification

15      paper, which is a letter-size paper describing the

16      individual, and it had the emblem and seal, and they would

17      show that to you as personal identification to introduce

18      themselves as representatives of the United States

19      government.

20      Q.   And was that an emblem or a seal of a particular

21      department of the United States government?

22                  THE INTERPRETER:    I didn't catch the first part.

23      Q.   Was that an emblem or seal of a particular department of

24      the United States government?

25      A.   It was a U.S. general seal.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 71 of 97   5121


 1      Q.   And these individuals that you met with, are they the

 2      same individuals you then continued to meet with over the

 3      course of the next year and a half?

 4      A.   Every four months the faces would change, the group

 5      would change.

 6      Q.   But there was one person who was consistently there,

 7      wasn't there?

 8      A.   No.

 9      Q.   There wasn't one person who was sort of your liaison

10      with the United States government?

11      A.   I didn't understand the question.

12      Q.   Was there one person who you considered -- who you

13      trusted so much that you considered him a brother and would

14      blindly follow his instructions?

15      A.   They were all brothers.

16      Q.   So you would do anything any of the members of the

17      United States government that you were meeting with asked

18      you to do?

19      A.   I trusted them all.

20      Q.   And you would do anything they asked you to do?

21      A.   Not everything.    What is correct in my own judgment.

22                   MS. PETERSON:   Pardon?

23                   THE INTERPRETER:   I would do only things I saw

24      correct in my own judgment.

25      Q.   If they asked you to do something that you thought was
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 72 of 97     5122


 1      for your own good, you would do it, right?

 2      A.   In the interest of everyone because we worked as a team.

 3      Q.   Right.    You were working on the team of the United

 4      States government, right?

 5      A.   In Libya.

 6      Q.   In Libya, but for the United States government, right?

 7      A.   Yes.

 8      Q.   And you saw yourself as a pretty important member of the

 9      United States government team in Libya, right?

10      A.   No, anyone ordinary like anyone else.

11      Q.   Well, there aren't a whole lot of other people that you

12      were aware of that were working on this team of the United

13      States government people, right?

14                    THE INTERPETER:    I didn't catch the first two

15      words.   I'm sorry.

16      Q.   There weren't a whole lot of other Libyans working on

17      this team with you and the United States government that you

18      were aware of, right?

19      A.   I'm not aware.    The team I was working with back in

20      Libya, the team, everyone else other than myself was

21      American.

22      Q.   Right.    And you had -- when the government first came to

23      you, they talked to you about how you could assimilate

24      yourself into Mr. Abu Khatallah's world, right?

25                    THE INTERPRETER:   Could you rephrase, I'm sorry?
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 73 of 97        5123


 1      Repeat, pardon me.

 2                   MS. PETERSON:   Sorry.

 3      Q.   When the United States government first came to you in

 4      that meeting, they began talking to you about how you could

 5      assimilate yourself into Mr. Abu Khatallah's world, right?

 6      A.   Not from the beginning, no.

 7      Q.   They didn't, from the beginning, start talking to you

 8      about Mr. Abu Khatallah?

 9      A.   No.

10      Q.   All right.   So when did they first start talking to you

11      about Mr. Abu Khatallah?

12      A.   It took a while.    In the beginning it was more like

13      introductions and beginning to do some background check on

14      knowing who I am and who I was.       And then after three to

15      four months after that, from them getting to know me, they

16      brought up Ahmed Abu Khatallah.

17      Q.   Okay.   So you agreed to work with the government in late

18      2012, but you didn't actually start working with the

19      government with respect to Mr. Abu Khatallah until, what,

20      April of 2013?

21      A.   After -- not right away, like I said, but it was after a

22      period of time of meeting them in the beginning.

23      Q.   So do you think it was about April of 2013?         Before or

24      after?

25      A.   I don't recall.    I cannot be sure with the dates, but I
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 74 of 97      5124


 1      could give a year.

 2      Q.   Okay.    It was in 2013, right?

 3      A.   When they told me about Ahmed Abu Khatallah?

 4      Q.   Right.

 5      A.   At the beginning of it, at the earlier of the year.

 6      Q.   Well, it was a few months after you started working with

 7      them, I thought you said, right?       Was it a couple of months

 8      or a few months?     I forgot.

 9      A.   I believe so.    I don't recall it specifically,

10      accurately.

11      Q.   Okay.    And then when they asked you to start trying to

12      get close to Mr. Abu Khatallah, you didn't really know him

13      at that point, right?      You knew who he was?

14      A.   Yes, I know who he was.

15      Q.   Right.   But you hadn't had any significant conversations

16      with him prior to then, right?

17      A.   No, just old or pass-bys in different locations in the

18      past.

19      Q.   Right.   You had to find somebody who could sort of

20      introduce you to Mr. Abu Khatallah, correct?

21      A.   Yes, a person and someone close to him.

22      Q.   Right.   You couldn't just walk up to Mr. Abu Khatallah

23      and start acting like you knew who he was, right?

24      A.   No.

25      Q.   And by April of 2013 the United States government was
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 75 of 97         5125


 1      already holding out to you that you could get financial

 2      benefits by helping them, right?

 3      A.   No.

 4      Q.   They weren't?    By April of 2013 they weren't already

 5      talking to you about the financial motivations you had for

 6      what you were doing?

 7      A.   I don't understand.     How do you mean?

 8      Q.   By April of 2013 was the United States government

 9      officials that you were meeting with talking to you about

10      your financial motivations?

11      A.   The monthly allowance that they were giving me.

12      Q.   Right.

13      A.   And things that we would need during the operation, just

14      amounts of money.

15      Q.   Right.    They gave you -- they started paying you your

16      salary, right?

17      A.   Yes.

18      Q.   Because at least part of your motivation was you needed

19      to get paid.

20      A.   For sure.

21      Q.   And you met with them several times in April of 2013,

22      right?

23                    THE INTERPETER:   I couldn't hear you.     I'm sorry.

24      Q.   You met with them several times in April of 2013, right?

25      A.   I don't recall.
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 1      Q.     Do you remember getting paid $2,000 in April of 2013 for

 2      travel expenses?

 3      A.     There were so many.     When you say the $2,000 and the

 4      $2,500, there were different kinds of payments that were

 5      done.    Some of them were for traveling and transportation,

 6      yes.

 7      Q.     Right.    You were paid a fair amount of money for what

 8      was -- what you've described as expenses, right?

 9                      MR. CRABB:   Objection, Your Honor, to what "fair"

10      might possibly mean.

11      Q.     Well, you were paid a lot of money for expenses, right?

12                      THE COURT:   Overruled.

13      A.     The generosity of the U.S. government.

14      Q.     Right.    They were pretty darn generous, weren't they?

15      A.     And I'm very grateful and thankful to them.

16      Q.     Right.

17                      Then they didn't make you submit receipts for your

18      expenses, did they?

19      A.     Receipts?    You mean...?

20      Q.     You didn't have to show them what you were spending the

21      money on, did you?

22      A.     No.   My residence and hotels and travel expenses, they

23      have all of those, and whatever I would spend, I would hand

24      over the receipt to them.

25      Q.     Back in 2013, when you were working for the people in
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 77 of 97     5127


 1      Libya, they were giving you this money in cash; is that

 2      right?

 3      A.   In Libya?

 4      Q.   Yes.

 5      A.   Yes, of course.    In Libya, there's nothing but cash.

 6      Q.   And they were paying you in U.S. dollars?

 7      A.   Yes.

 8      Q.   And did they just come in and hand you a stack of money

 9      each time they were paying you?

10      A.   Yes.

11      Q.   And do you remember in May getting $10,000?

12      A.   In May.   The date I'm not really sure of.       When you talk

13      about the amounts of money, the quantities, there were so

14      many, I don't recall.

15      Q.   Right.    It's hard to keep track of all the money the

16      United States government was paying you, isn't it?

17      A.   It's hard to remember because things were moving so

18      fast.

19      Q.   Right.    In addition to the $2,500 salary, you were also

20      getting bonuses, right?

21      A.   Yes.

22      Q.   And after you'd been paid the first probably $20,000 or

23      so in September of 2013, do you remember having a series of

24      meetings with the government?

25      A.   Yes.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 78 of 97   5128


 1      Q.   Right.   And at that time when you had those meetings

 2      with the government in September of 2013, the U.S.

 3      Government told you that you could get significant rewards,

 4      but that would depend on you testifying, didn't they?

 5      A.   No.

 6      Q.   They gave you money, but they told you you were going to

 7      have to testify if you wanted significant amounts of money,

 8      right?

 9      A.   Which money are you talking about pertaining to

10      testimony?

11      Q.   I'm asking you, did the person -- your contact in the

12      U.S. government in September of 2013 tell you that there was

13      a potential for significant rewards, but it would depend on

14      your greater or lesser involvement, including acting as a

15      witness for the FBI against Abu Khatallah?

16      A.   Yes.    He did mention the reward, yes, and he did mention

17      the testimony, and I refused in the beginning.

18      Q.   Right.   You refused in the beginning, but you came to

19      learn that the only way you were going to get all that money

20      was if you agreed to testify, right?

21      A.   No.

22      Q.   Well, they told you that it was conditioned -- it

23      would depend on your acting as a witness for the FBI against

24      Mr. Abu Khatallah, right?

25      A.   No, unconditioned.
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 79 of 97    5129


 1      Q.   All right.    Well, we'll come back to this.

 2                    Let's go to -- the government asked you about your

 3      involvement in the revolutionary war.        Do you remember that?

 4      A.   Yes.

 5      Q.   You remember testifying that you had taken part in the

 6      war against Gaddafi, right?

 7      A.   Yes.

 8      Q.   And you said that the United States had supported the

 9      revolutionaries back at the beginning of that war, right?

10      A.   Yes.

11      Q.   And, in part, that was to support the citizens of Libya

12      who were trying to get rid of a brutal dictator, right?

13      A.   Yes.

14      Q.   And he was a brutal dictator who had imprisoned people

15      in Abu Salim Prison for decades without charges, right?

16      A.   Yes.

17      Q.   And he was a brutal dictator that used a very

18      sophisticated intelligence service -- intelligence agency to

19      spy on his own citizens, right?

20      A.   Yes, as a dictator.     One of his tools.

21      Q.   Right.    And you mentioned the brutal massacre at Abu

22      Salim Prison, right?

23      A.   Yes.

24      Q.   And you're aware that Gaddafi, in his -- the people who

25      worked under him treated prisoners very brutally, right?
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 80 of 97     5130


 1      A.   Yes.

 2      Q.   The Abu Salim Prison massacre was just an example of why

 3      1,200 political prisoners were shot to death in the prison,

 4      right?

 5      A.   That is what is spoken of among the people in the

 6      citizenry of Libya and what's said in the news.

 7      Q.   Right.   And that's part of the reason for the

 8      revolution, right?

 9      A.   No.

10      Q.   Well, the brutal treatment of political prisoners under

11      Gaddafi was part of the reason people rebelled, right?

12      A.   One of the reasons, of many reasons.

13      Q.   Right.   Sure.   And after Gaddafi was ousted with the

14      support of the United States government, there was still a

15      struggle for power in Libya, right?

16      A.   Up until today.

17      Q.   Up until today, right.     And yesterday you testified that

18      there were different groups in Libya with different

19      ideologies, right?

20      A.   Could you repeat the question?       Oh, I saw them where?

21      Q.   No, I'm sorry.    You said yesterday that there were

22      different groups in Libya that had different ideologies that

23      are still fighting today, right?

24      A.   How do you mean, different ideologies?

25      Q.   Well, I'm just quoting you.      You said there were
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 81 of 97     5131


 1      different groups -- there were different groups in Libya

 2      that had different ideologies, right?

 3      A.     You mean by thought, ideology?

 4      Q.     Yes.

 5      A.     Yes.

 6      Q.     Okay.   And Haftar came into the mix of this, right?

 7      A.     In the middle of what?

 8      Q.     In the middle of the ongoing battles between various

 9      groups in Libya.

10      A.     Yes.

11      Q.     And he has essentially tried to instill a military

12      dictatorship in Libya, right?

13      A.     I don't know.   I was not in Libya since 2014.

14      Q.     Okay.   But back when you were in Libya, you were aware,

15      I think you testified yesterday, that Mr. Abu Khatallah was

16      concerned about what General Haftar was doing, right?

17                     MR. CRABB:   Objection, Your Honor; form of the

18      question.

19                     THE COURT:   I'll sustain it.

20                     MS. PETERSON:   I'll try a better question.

21      Q.     Do you recall testifying yesterday that Mr. Abu

22      Khatallah was afraid that General Haftar was coming after

23      him?

24                     MR. CRABB:   Objection, Your Honor.   May we

25      approach?
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 82 of 97          5132


 1                  THE COURT:   You may.

 2                  (The following is a conference held at the

 3                   bench outside the hearing of the jury)

 4                  MR. CRABB:   Your Honor, it's inappropriate to

 5      refer to prior testimony and try to summarize it.          The

 6      appropriate way would be to refer to a specific question and

 7      a specific answer.

 8                  MS. PETERSON:    Oh, my goodness.     The government's

 9      been summarizing the witness --

10                  THE COURT:   She can frame up the question.          But

11      the question is whether that's what he said, and frankly, I

12      just don't remember that line of testimony.

13                  MS. PETERSON:    Right.   I mean, I can go back -- if

14      we want to do it after lunch, I'll go back and pull the

15      exact cite, but he said yesterday that the client asked or

16      he was getting him to go to the beach because he was afraid

17      General Haftar was coming after him.        That's what he said.

18      I can pull the exact cite.

19                  THE COURT:   Why don't you -- if you're going to do

20      it, let's be specific about it.       He testified on direct that

21      the reason he went to the beach is because he was afraid of

22      Haftar.

23                  MS. PETERSON:    I'm trying to elicit more generally

24      that he is on the opposite side of Haftar.         I think I'm able

25      to do that without having to specifically impeach him on
     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 83 of 97       5133


 1      something he said yesterday.

 2                  THE COURT:    You can frame the question by

 3      referencing his direct testimony.       No doubt about it, okay?

 4                  I want to know the relevance of this, and we'll do

 5      it after the break.      I'm not getting the context.

 6                  MS. PETERSON:    Are we taking a break now then?

 7                  THE COURT:    Why don't we take a break.

 8                  MS. PETERSON:    Okay.

 9                  (This is the end of the bench conference)

10                  THE COURT:    All right.   Ladies and gentlemen,

11      we're going to take our lunch break.        We will see you here

12      at 1:45.

13                  No discussion about the case.       No research about

14      the case.    Avoid press about the case.

15                  (Jury exits courtroom)

16                  THE COURT:    All right.   We'll see you in an hour.

17                  (Lunch recess taken at 12:40 p.m.)

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     Case 1:14-cr-00141-CRC Document 450 Filed 11/09/17 Page 84 of 97    5134


 1                   CERTIFICATE OF OFFICIAL COURT REPORTER

 2

 3                       I, LISA A. MOREIRA, RDR, CRR, do hereby

 4      certify that the above and foregoing constitutes a true and

 5      accurate transcript of my stenographic notes and is a full,

 6      true and complete transcript of the proceedings to the best

 7      of my ability.

 8           Dated this 7th day of November, 2017.

 9

10                                        /s/Lisa A. Moreira, RDR, CRR
                                          Official Court Reporter
11                                        United States Courthouse
                                          Room 6718
12                                        333 Constitution Avenue, NW
                                          Washington, DC 20001
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